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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 22-CR-14-APM
               v.                             :
                                              :
JONATHAN WALDEN,                              :
                                              :
                       Defendant.             :


         JOINT MOTION TO VACATE STATUS HEARING AND SCHEDULE
                            PLEA HEARING

       The United States of America, through the U.S. Attorney for the District of Columbia, and

joined by defendant Jonathan Walden, through undersigned counsel, hereby move this court to

vacate the status hearing currently scheduled for September 19, 2024, and schedule a plea hearing

at the Court’s convenience. Because the defendant will plead to a misdemeanor charge, the parties

consent to the plea hearing being held virtually.

                                                           Respectfully submitted,

                                                           MATTHEW M. GRAVES
                                                           United States Attorney
                                                           D.C. Bar No. 481052


                                                     By:   /s/ Carolina Nevin
                                                           CAROLINA NEVIN
                                                           Assistant United States Attorney
                                                           N.Y. Bar No. 5226121
                                                           U.S. Attorney’s Office for the
                                                           District of Columbia
                                                           601 D Street, N.W.
                                                           Washington, D.C. 20530
                                                           202-803-1612
                                                           carolina.nevin@usdoj.gov




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                                        /s/ Isia Jasiewicz
                                        Monika (Isia) Jasiewicz
                                        Assistant United States Attorney
                                        D.C. Bar No. 102491
                                        U.S. Attorney’s Office for the
                                        District of Columbia
                                        601 D Street, N.W.
                                        Washington, D.C. 20530
                                        (202) 714-6446
                                        isia.jasiewicz@usdoj.gov

                                        Counsel for the United States

                                        /s/ David W. Fischer, Esq.
                                        David W. Fischer, Esq.
                                        Federal Bar No. 023787
                                        Law Offices of Fischer & Putzi, P.A.
                                        Empire Towers, Suite 300
                                        7310 Ritchie Highway
                                        Glen Burnie, MD 21061
                                        (410) 787-0826

                                        Counsel for Defendant




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